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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

JAX AIRPORT HOTEL, LLC
and TURN-KEY HOSPITALITY
SOLUTIONS, INC.,

       Plaintiffs,

v.                                                Case No: 3:18-cv-1492-HES-JBT

LG ELECTRONICS, INC., a Foreign
Corporation and LG ELECTRONICS U.S.A.,
INC., a Delaware corporation,

      Defendants.
___________________________________/

                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs Jax Airport Hotel, LLC. and Turn-Key Hospitality, Inc., and Defendant LG

Electronics U.S.A., Inc., by and through their respective undersigned counsel, hereby jointly

stipulate, pursuant to Federal Rule of Civil Procedure 41(a), to the dismissal of all claims

asserted in the above-captioned action in their entirety, with prejudice, and with each party

bearing its own costs and fees.

       DATED this 7th day of January, 2020.
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Respectfully submitted,

TRITT & ASSOCIATES, P.A.                                    BURR & FORMAN LLP

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of January, 2020, I presented the foregoing to the

Clerk of the Court for filing and uploading to the CM/ECF system, which will automatically

send email notification of such filing to the attorneys of record.

                                              s/Helen H. Albee
                                              Helen H. Albee




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